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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  SHREVEPORT DIVISION

  MAGNOLIA ISLAND PLANTATION          §     CIVIL ACTION NO: 5:18-cv-01526
  L.L.C. and BARBARA MARIE CAREY      §
  LOLLAR                              §
               Plaintiffs             §
                                      §
  VS                                  §     CHIEF JUDGE S. MAURICE HICKS, JR.
                                      §
  LUCKY FAMILY, L.L.C., W.A. LUCKY, §
  III, and BOSSIER PARISH SHERIFF     §
  JULIAN C. WHITTINGTON               §
                                      §     MAGISTRATE JUDGE KAREN HAYES
                Defendants            §     Jury Trial Demanded
  ______________________________________________________________________________

                       MOTION TO CORRECT SCHEDULING ORDER



         Barbara Marie Carey Lollar and Magnolia Island Plantation, LLC (“Plaintiffs”) herein

  move to correct the most recently-amended version of the Scheduling Order in this matter, as

  follows:

                                                   1.

         This Court entered an Amended Scheduling Order in this suit on September 23, 2019 (Rec.

  Doc. 52). That order set trial for April 13, 2020 and contained a number of pre-trial deadlines. One

  of those deadlines was on January 6, 2020, for “Daubert/Expert Testimony Motions.”

                                                   2.

         No party filed a Daubert motion prior to the January 6, 2020 deadline.




                                                                                                    1
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                                                  3.

         On February 11, 2020, this Court signed an Order upsetting the April 13, 2020 trial date

  (the “Order,” Rec Doc. 130). The Order also stated that all deadlines in the prior scheduling order

  “not expired as of this date are hereby CONTINUED WITHOUT DATE.”1

                                                  4.

         On February 28, 2020, the parties to this suit held a scheduling conference with the court

  to set a new trial date and re-set the deadlines on the previous schedule which had not expired, in

  accordance with the February 11, 2020 Order.

                                                  5.

         On March 2, 2020, the Court signed an amended Scheduling Order (the “Scheduling

  Order;” Rec. Doc. 137).

                                                  6.

         The March 2, 2020 Scheduling Order sets a new deadline of March 20, 2020 for Daubert

  motions, despite the fact that the prior deadline for Daubert motions passed on January 6, 2020

  and was “expired as of” the February 11, 2020 Order.

                                                  7.

         Defendants W.A. Lucky, III and Lucky Family, L.L.C. each filed a Daubert motion on

  March 20, 2020 (respectively, Rec. Doc. 143 and 144).

                                                  8.



  1
    The Order referenced a July 30, 2019 scheduling order, but cited Rec. Doc. 52. There was no
  scheduling order issued on July 30, 2019 and Rec. Doc. 52 was the most recently-amended version
  of the scheduling order, making the intent of the Order clear.
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            Plaintiffs believe that the Court’s setting of a new deadline for Daubert motions was

  inadvertent, as such a setting is inconsistent with the Order’s directive that only deadlines that had

  not expired as February 11, 2020 would be continued without date. It appears that all other

  deadlines in the prior schedule that had expired as of February 11, 2020 are notated as “PASSED”

  in the Scheduling Order, save the February 7, 2020 deadline for the exchange of pre-trial order

  drafts.

                                                    9.

            Plaintiffs tender with this motion a proposed order to correct the Scheduling Order to show

  that the deadline for Daubert motions passed, having expired on January 6, 2020, and that any

  Daubert motions filed after that date are consequently untimely, including specifically the Daubert

  motions filed at Rec. Doc. 143 by W.A. Lucky, III and at Rec. Doc. 144 by Lucky Family, L.L.C..

                                                    10.

            Counsel for Plaintiffs have complied with Local Rule 7.4.1 by seeking the consent for the

  filing and granting of this motion from all parties having an interest to oppose same. Counsel for

  the defendants in this suit have not consented to this filing. The requisite certificate of conference

  is included with this motion.



            WHEREFORE, BARBARA MARIE CAREY LOLLAR AND MAGNOLIA ISLAND

  PLANTATION, LLC pray that the Court sign an order correcting the Scheduling Order (Rec. Doc.

  137) to reflect the fact that the deadline for Daubert motions closed as of January 6, 2020 and was

  not re-opened by the March 2, 2020 Scheduling Order, thus rendering any Daubert motions filed

  after January 6, 2020 untimely.




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                                                       Respectfully submitted by,

                                                       ____/s/ Andrew D. Martin____________
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                                                       Andrew D. Martin, LSBA 34947
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                                                       Counsel for Barbara Marie Carey Lollar.




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the above and foregoing was filed electronically with

  the Clerk of Court using the CM/ECF filing system, and notice of the same will be sent to all

  counsel of record by operation of the court’s electronic noticing system.

         Shreveport, Louisiana, on this 24th day of March, 2020.

                                                              s/ Andrew D. Martin
                                                               OF COUNSEL




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